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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF NEVADA


UNITED STATES OF AMERICA,                 )                  3:08–cr-00006-LRH-WGC
                                          )
                  Plaintiff,              )                  MINUTE ORDER
v.                                        )
                                          )
JENNIFER LYNN FRENCH,                     )                  September 9, 2014
                                          )
                  Defendant.              )
__________________________________________)

PRESENT:       THE HONORABLE LARRY R. HICKS, U.S. DISTRICT JUDGE
DEPUTY CLERK:           NONE APPEARING                 REPORTER: NONE APPEARING
COUNSEL FOR PLAINTIFF(S): NONE APPEARING
COUNSEL FOR DEFENDANT(S): NONE APPEARING
MINUTE ORDER IN CHAMBERS:
       Before the court is Defendant’s Unopposed Motion to Modify Judgment (#416). Good cause
appearing,

      IT IS HEREBY ORDERED that Defendant’s Unopposed Motion to Modify Judgment (#416)
is GRANTED.

       IT IS FURTHER ORDERED that the judgment in this matter shall be amended to reflect that
payment of the special assessment can be made in installments over a period of time to be
determined by Defendant’s supervising probation officer after consideration of Defendant’s financial
circumstances and ability to pay.

       IT IS SO ORDERED.
                                              LANCE S. WILSON, CLERK

                                              By:            /s/
                                                          Deputy Clerk
